918 F.2d 173Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Curtis NOWLIN, Jr., Plaintiff-Appellant,v.VIRGINIA DEPARTMENT OF CORRECTIONS MEDICAL DEPARTMENT,Robert Fry, Dr., H.G. Ozinal, Dr., Sgt. Ramsey,Defendants-Appellees.
    No. 90-6393.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 29, 1990.Decided Nov. 14, 1990.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  James C. Turk, Chief District Judge.  (CA-89-802-R)
      Curtis Nowlin, Jr., appellant pro se.
      Edward Meade Macon, McGuire, Woods, Battle &amp; Boothe, Richmond, Va., for appellees.
      W.D.Va.
      AFFIRMED.
      Before WIDENER, PHILLIPS and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Curtis Nowlin, Jr., appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Nowlin v. Virginia Dep't of Corrections, CA-89-802-R (W.D.Va. Aug. 29, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    